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                                    UNITED STATES DISTRICT COURT
                                            SOUTHERN DISTRICT OF FLORIDA
                                              WEST PALM BEACH DIVISION

 UNITED STATES OF AMERICA                                                §      JUDGMENT IN A CRIMINAL CASE
                                                                         §
 v.                                                                      §
                                                                         §      Case Number: 9:21-CR-80196-KAM(1)
 THOMAS HEYDEN                                                           §      USM Number: 81373-059
                                                                         §
                                                                         §      Counsel for Defendant: Valentin Rodriguez
                                                                         §      Counsel for United States: Aurora Fagan
THE DEFENDANT:
 ☐ pleaded guilty to count(s)
       pleaded guilty to count(s) before a U.S.
 ☒ Magistrate Judge, which was accepted by the
       court.                                                Count One of the Information on 1/11/22
       pleaded nolo contendere to count(s) which was
 ☐     accepted by the court
       was found guilty on count(s) after a plea of not
 ☐     guilty

The defendant is adjudicated guilty of these offenses:
 Title & Section / Nature of Offense                                                               Offense Ended            Count
 18:1030(a)(2)(C) Fraud Act. Connected With Computers                                              09/29/2020               1




The defendant is sentenced as provided in pages 2 through 6 of this judgment. The sentence is imposed pursuant to the Sentencing
Reform Act of 1984.

 ☐ The defendant has been found not guilty on count(s)
 ☐ Count(s) ☐ is ☐ are dismissed on the motion of the United States

         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name,
residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If
ordered to pay restitution, the defendant must notify the court and United States attorney of material changes in economic
circumstances.


                                                                  March 25, 2022
                                                                  Date of Imposition of Judgment




                                                                  Signature of Judge

                                                                  KENNETH A. MARRA
                                                                  UNITED STATES DISTRICT JUDGE
                                                                  Name and Title of Judge

                                                                  March 25, 2022
                                                                  Date
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DEFENDANT:                 THOMAS HEYDEN
CASE NUMBER:               9:21-CR-80196-KAM(1)

                                                          PROBATION
The defendant is hereby sentenced to probation for a term of:

One year as to Count 1.

Counts to run: ☐ Concurrent         ☐ Consecutive

                                             MANDATORY CONDITIONS

 1.    You must not commit another federal, state or local crime.
 2.    You must not unlawfully possess a controlled substance.
 3.    You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15 days of
       release from imprisonment and at least two periodic drug tests thereafter, as determined by the court.

            ☐ The above drug testing condition is suspended, based on the court's determination that you pose a low risk of
                  future substance abuse. (check if applicable)
 4.    ☒ You must cooperate in the collection of DNA as directed by the probation officer. (check if applicable)
 5.    ☐ You must comply with the requirements of the Sex Offender Registration and Notification Act (34 U.S.C. § 20901, et
            seq.) as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which
            you reside, work, are a student, or were convicted of a qualifying offense. (check if applicable)
 6.    ☐ You must participate in an approved program for domestic violence. (check if applicable)
 7.    ☐ You must make restitution in accordance with 18 U.S.C. §§ 2248, 2259, 2264, 2327, 3663, 3663A, and 3664. (check if
            applicable)
 8.    ☐ You must pay the assessment imposed in accordance with 18 U.S.C. § 3013.
 9.  ☐ If this judgment imposes a fine, you must pay in accordance with the Schedule of Payments sheet of this judgment.
 10. ☐ You must notify the court of any material change in your economic circumstances that might affect your ability to pay
            restitution, fines, or special assessments.

          You must comply with the standard conditions that have been adopted by this court as well as with any additional
 conditions on the attached page.
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DEFENDANT:                 THOMAS HEYDEN
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                                 STANDARD CONDITIONS OF PROBATION
As part of your probation, you must comply with the following standard conditions of supervision. These conditions are imposed
because they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed by
probation officers to keep informed, report to the court about, and bring about improvements in your conduct and condition.

1. You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of your
release from imprisonment, unless the probation officer instructs you to report to a different probation office or within a different time
frame.
2. After initially reporting to the probation office, you will receive instructions from the court or the probation officer about how and
when you must report to the probation officer, and you must report to the probation officer as instructed.
3. You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission from
the court or the probation officer.
4. You must answer truthfully the questions asked by your probation officer.
5. You must live at a place approved by the probation officer. If you plan to change where you live or anything about your living
arrangements (such as the people you live with), you must notify the probation officer at least 10 days before the change. If notifying
the probation officer in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72
hours of becoming aware of a change or expected change.
6. You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation officer
to take any items prohibited by the conditions of your supervision that he or she observes in plain view.
7. You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses you from
doing so. If you do not have full-time employment you must try to find full-time employment, unless the probation officer excuses
you from doing so. If you plan to change where you work or anything about your work (such as your position or your job
responsibilities), you must notify the probation officer at least 10 days before the change. If notifying the probation officer at least 10
days in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72 hours of
becoming aware of a change or expected change.
8. You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has been
convicted of a felony, you must not knowingly communicate or interact with that person without first getting the permission of the
probation officer.
9. If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.
10. You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e., anything that
was designed, or was modified for, the specific purpose of causing bodily injury or death to another person such as nunchakus or
tasers).
11. You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant
without first getting the permission of the court.
12. If the probation officer determines that you pose a risk to another person (including an organization), the probation officer may
require you to notify the person about the risk and you must comply with that instruction. The probation officer may contact the
person and confirm that you have notified the person about the risk.
13. You must follow the instructions of the probation officer related to the conditions of supervision.

U.S. Probation Office Use Only

A U.S. probation officer has instructed me on the conditions specified by the court and has provided me with a
written copy of this judgment containing these conditions. I understand additional information regarding these
conditions is available at www.flsp.uscourts.gov.

 Defendant’s Signature                                                                             Date
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DEFENDANT:                THOMAS HEYDEN
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                                 SPECIAL CONDITIONS OF PROBATION
Financial Disclosure Requirement: The defendant shall provide complete access to financial information,
including disclosure of all business and personal finances, to the U.S. Probation Officer.

Permissible Search: The defendant shall submit to a search of his/her person or property conducted in a
reasonable manner and at a reasonable time by the U.S. Probation Officer.

Travel Outside the District: Defendant may travel for employment related purposes and to visit family
without prior Court approval. Defendant must provide his full itinerary to his U.S. Probation Officer.
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DEFENDANT:                   THOMAS HEYDEN
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                                        CRIMINAL MONETARY PENALTIES
       The defendant must pay the total criminal monetary penalties under the schedule of payments page.
                      Assessment             Restitution                Fine     AVAA Assessment*         JVTA Assessment**
   TOTALS                 $100.00            $44,160.00                 $.00
        ☐            The determination of restitution is deferred until       An Amended Judgment in a Criminal Case
                     (AO245C) will be entered after such determination.
                    The defendant must make restitution (including community restitution) to the following payees in the
                     amount listed below.


         If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment. However, pursuant to 18 U.S.C.
         § 3664(i), all nonfederal victims must be paid before the United States is paid.




 ☐ Restitution amount ordered pursuant to plea agreement $
 ☐ The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before
       the fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on the schedule of
       payments page may be subject to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).
 ☐     The court determined that the defendant does not have the ability to pay interest and it is ordered that:
       ☒ the interest requirement is waived for the          ☐ fine                            ☒ restitution
       ☐ the interest requirement for the                       ☐ fine                                ☐ restitution is modified as follows:

Restitution with Imprisonment - It is further ordered that the defendant shall pay restitution in the amount of $44,160.00. Upon
commencement of supervision, the defendant shall pay restitution at the rate of $500 per month, until such time as the court may alter
that payment schedule in the interests of justice. The U.S. Probation Office and U.S. Attorney’s Office shall monitor the payment of
restitution and report to the court any material change in the defendant’s ability to pay. These payments do not preclude the
government from using other assets or income of the defendant to satisfy the restitution obligations.

* Amy, Vicky, and Andy Child Pornography Victim Assistance Act of 2018, 18 U.S.C. §2259.
** Justice for Victims of Trafficking Act of 2015, 18 U.S.C. §3014.
*** Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on or after
September 13, 1994, but before April 23, 1996.
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DEFENDANT:                    THOMAS HEYDEN
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                                                  SCHEDULE OF PAYMENTS
Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties is due as follows:

 A      ☒ Lump sum payments of $100.00 due immediately.
It is ordered that the Defendant shall pay to the United States a special assessment of $100.00 for Count 1, which shall be due
immediately. Said special assessment shall be paid to the Clerk, U.S. District Court. Payment is to be addressed to:

          U.S. CLERK’S OFFICE
          ATTN: FINANCIAL SECTION
          400 NORTH MIAMI AVENUE, ROOM 8N09
          MIAMI, FLORIDA 33128-7716

Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is
due during imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons’
Inmate Financial Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

       Joint and Several
        See above for Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and
        Several Amount, and corresponding payee, if appropriate.

 ☒ The defendant shall forfeit the defendant’s interest in the following property to the United States:
        FORFEITURE of the defendant’s right, title and interest in certain property is hereby ordered consistent with the plea
        agreement. The United States shall submit a proposed Order of Forfeiture within three days of this proceeding.

Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) AVAA assessment, (5)
fine principal, (6) fine interest, (7) community restitution, (8) JVTA assessment, (9) penalties, and (10) costs, including cost of prosecution
and court costs.
